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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
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     MARK VELICER; VELICER ICE, INC.;
10   VELICER ICE MARINERS, LLC; and                    Case No. 2:19-CV-01505-JLR
     VELICER ICE KENT, LLC,
11                                                     DEFENDANT’S MOTION TO EXTEND
                      Plaintiffs,                      DEADLINES IN COURT ORDER DATED
12
                                                       NOVEMBER 18, 2019 SETTING TRIAL
             vs.
13                                                     DATES AND RELATED DATES
     FALCONHEAD CAPITAL LLC,
14                                                     NOTED FOR CONSIDERATION:
                      Defendant.                       APRIL 17, 2020
15

16           Pursuant to Fed. R. Civ. P. 6 and 16, Defendant Falconhead Capital LLC (“Falconhead”)

17   respectfully submits this motion requesting that the Court issue an order extending all deadlines

18   in the November 18, 2019 Scheduling Order, by ninety (90) days to allow for adequate time to

19   complete discovery and permit the efficient handling of this litigation.

20           The parties agree that an extension of the scheduling deadlines is appropriate; however,

21   the parties have not agreed as to the length of that extension.         Falconhead requested that

22   Plaintiffs Mark Velicer, Velicer Ice, Inc., Velicer Ice Mariners, LLC, and Velicer Ice Kent LLC

23   (collectively “Plaintiffs”) stipulate to the requested ninety (90) day extension of the scheduling

24   deadlines but Plaintiffs would only agree to a forty-five (45) day extension. Because the parties

25   were not able to resolve this dispute, Falconhead submits this motion on its own behalf.

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     DEFENDANT’S MOTION TO EXTEND DEADLINES IN                       MILLER NASH GRAHAM & DUNN LLP
     COURT ORDER DATED NOVEMBER 18, 2019 SETTING                     Pier 70 ~ 2801 Alaskan Way ~ Suite 300
     TRIAL DATES AND RELATED DATES - 1                                   Seattle, Washington 98121-1128
     578080-0001/4834-3760-9401.1                                      (206) 624-8300/Fax: (206) 340-9599
 1                                      PROCEDURAL HISTORY
 2           Plaintiffs initiated this action by filing a complaint in the King County Superior Court in
 3   King County, Washington, on August 15, 2019. Thereafter, on September 19, 2019, Falconhead
 4   removed this action to federal court.
 5           On October 28, 2019, Falconhead filed a Motion to Dismiss the Complaint. On March
 6   11, 2020, the Court granted Falconhead’s motion to dismiss, but gave Plaintiffs leave to amend
 7   their complaint on certain limited grounds. On March 31, 2020, Plaintiffs filed an amended
 8   complaint and supporting declaration.       The discovery period is currently set to expire on
 9   November 2, 2020 and the deadline for dispositive motions is December 1, 2020.
10                                              ARGUMENT
11           A ninety (90) day extension of the discovery deadlines would be appropriate under the
12   circumstances and would serve the interest of efficiency and judicial economy.
13           First, Falconhead intends to file a motion to dismiss the amended complaint. If that
14   motion is granted, it may result in the final resolution of the case. Even if not granted in full, the
15   ruling on that motion could narrow the issues before the Court even further. Extending the
16   existing scheduling deadlines would ensure that there was adequate time to undertake focused
17   discovery based on the Court’s ruling on the anticipated motion to dismiss, rather than forcing
18   the parties to engage in broad discovery practice into subjects which may be rendered irrelevant
19   by that ruling.
20           Second, it is also possible that Plaintiffs may attempt to further amend their pleadings,
21   which could inject new factual allegations and change the scope of relevant discovery. Unless
22   and until those amendments are made, Falconhead is unable to foresee what discovery may be
23   needed.
24           Third, the parties’ ability to efficiently litigate this action has been hampered by the
25   COVID-19 pandemic and the related stay-at-home orders which have shuttered Falconhead’s
26   and its counsels’ offices.     This may substantially limit access to documents and services



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 1   necessary for the litigation of this action. It may further impact the Court’s ability to address any
 2   discovery disputes that may arise. It also impacts the parties’ ability to engage in potential third-
 3   party discovery or to travel to conduct depositions in person, which Defendants wish to do if
 4   feasible. Extending the scheduling order by ninety (90) days would allow the party to
 5   appropriately address appropriately respond to these and other possible issues.
 6             Rules 6 and 16 allow the Court to extend deadlines which have not yet passed for “good
 7   cause.”      The district court is “given broad discretion in supervising the pretrial phase of
 8   litigation.” Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 607 (9th Cir.1992). The good
 9   cause standard “primarily considers the diligence of the party seeking the amendment.” Id. at
10   609. “[A]n application for the enlargement of time under Rule 6(b)(1) normally will be granted
11   in the absence of bad faith on the part of the party seeking relief or prejudice to the adverse
12   party.” Federal Practice & Procedure § 1165.
13             Good cause exists to grant the requested extension. Falconhead has been diligent in
14   defending these claims.        Falconhead’s first motion to dismiss resulted in the substantial
15   narrowing of the issues before the Court and Falconhead intends to file a second motion to
16   dismiss Plaintiffs’ Amended Complaint. There is no prejudice to Plaintiffs caused by a ninety
17   (90) day extension of the scheduling deadlines, as it represents a modest extension beyond the
18   forty-five (45) days which they proposed. Moreover, the extended deadlines, and any prejudicial
19   effect from this brief additional delay, may be mooted by Falconhead’s forthcoming motion to
20   dismiss the amended complaint which could lead to final dismissal of this matter. Should that
21   motion to dismiss be denied, the parties will have the benefit of additional time to conduct
22   discovery more efficiently which may, ultimately, lead to earlier resolution of this matter.
23   Additionally, the requested extension will allow the parties to better account for the impact of the
24   COVID-19 pandemic and the related restriction on work and travel. Moreover, the extension will
25   advance the interest of judicial economy. The pandemic has continued all previously scheduled
26   trials for some period of months. Extending the deadline here will ensure that there is adequate



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 1   space on the calendar to reschedule these delayed trials and otherwise balance the Court’s
 2   workload in the coming months.
 3           Finally, Falconhead makes this request in good faith, motivated by a desire to engage in
 4   efficient litigation, avoid unnecessary burden and expense, and serve the interest of judicial
 5   economy. Thus, the motion should be granted.
 6           WHEREFORE, Defendant Falconhead respectfully requests that the Court extend all
 7   deadlines and dates in the November 18, 2019 Order, including the discovery deadline, by ninety
 8   (90) days as set forth in the attached proposed order.
 9           DATED this 6th day of April, 2020.
10
                                                   s/Daniel J. Oates
11                                                 Daniel J. Oates, WSBA No. 39334
                                                   MILLER NASH GRAHAM & DUNN LLP
12                                                 Pier 70, 2801 Alaskan Way, Suite 300
                                                   Seattle, WA 98121-1128
13                                                 Tel: (206) 624-8300
                                                   Fax: (206) 340-9599
14                                                 Email: dan.oates@millernash.com
15                                                       Attorneys for Defendant Falconhead Capital
                                                         LLC
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 1                                   DECLARATION OF SERVICE
 2           I, Jennifer Schnarr, hereby declare under penalty of perjury under the laws of the United
 3   States that on this 6th day of April, 2020, the foregoing document was filed using the CM/ECF
 4   system which will send notice of the same to all registered parties.
 5           SIGNED at Seattle, Washington this 6th day of April, 2020.
 6                                                 s/Jennifer L. Schnarr
 7                                                 Jennifer L. Schnarr, Legal Assistant

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